Case 1:04-cr-00268-PLM        ECF No. 208, PageID.726        Filed 07/13/15    Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:04-CR-268
v.
                                                        HON. ROBERT HOLMES BELL
MARLON JOEL LEWIS,

              Defendant.
                                   /

                        MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (ECF No. 169). Based on a

review of Defendant’s motion, the original criminal file, and the Report of Eligibility

prepared by the Probation Department, the Court has determined that the motion should

be denied as follows:

       Defendant was sentenced on April 25, 2005 on seven counts of an Indictment

charging Conspiracy to Distribute More than 50 Grams of Cocaine Base; Distribution of

an Unspecified Quantity of Cocaine Base; Distribution of More than 5 Grams of Cocaine

Base; and Possession with Intent to Distribute More than 50 Grams of Cocaine Case.

Defendant was sentenced as a career offender within the meaning of U.S.S.G. § 4B1.1(a).

As such, defendant is ineligible for a reduction in sentence. Accordingly,

       Defendant’s Motion for Modification or Reduction of Sentence (ECF No. 169) is
Case 1:04-cr-00268-PLM      ECF No. 208, PageID.727     Filed 07/13/15   Page 2 of 2



DENIED.

        Defendant’s motion for appointment of counsel (ECF No. 178) is DENIED as

moot.



Date: July 13, 2015                    /s/ Robert Holmes Bell
                                       ROBERT HOLMES BELL
                                       UNITED STATES DISTRICT JUDGE
